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UN|TED STATES OF AMER|CA MMAS M wm
cie.z<, us wiseman
-v- 2:04cR20012-01-Ml egger law

JERRY HAZLER|G BLAIR
Steffen G. Schreiner CJA
Defense Attorney
369 North Main Street
Memphis, TN 38103

 

 

*A-M-E-N-D-E-D JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on lV|ay 21, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue & section Mesg offense Mr@
Concluded
18 U.S.C. §2252(3)(4)(5) Possession of Child Pornography 08/21/2003 1
18 U.S.C. § 2252(a)(2) Receipt of Chi|d Pornography 11/30/2001 2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
finesl restitution, costs and special assessments imposed by this judgment are fully paid.

 

Defendant’s Soc. Sec. No. XXX-XX-XXXX Ori ina| Date of im osition of Sentence:
Defendant’s Date of Birth: 11/15/1949 November 5, 2004
Deft’s U.S. |Vlarshal No.: 19487-076 *Amended: July 19, 2005

Defendant’s Mailing Address:
7715 Shamrock Road

Mi|lington, TN 38053 M m C OLQQ
(_

JON PH|PPS MCCALLA
UN|TE STATES D|STR|CT JUDGE

July , 2005

Th|s document entered on the docket sheet in compliance
with Ru|e 55 and/or 32(b} l`~'H".;rP on '

 

 

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Case No: 2:04CR20072-01-M| Defendant Name: Jerry Hazlerig BLA|R Page 2 of 5

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of *28 Months (or 2 Vears and 4 Months) as to Count
1 and 28 Months for 2 Years and 4 Months) as to Count 2. Counts 1 and 2 are to be

served concurrenth with each other for a totat term of 28 Months (or 2 Years and 4

Months ).

*The Court recommends to the Bureau of Prisons:

*1 The defendant be incarcerated a FCl-Butner NC where he can receive treatment for

criminal sexual offenders (1St priority).

*2 The defendant be incarcerated at a facilitv that can meet his medical needs (2'“1

priori§j).

 

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:04CR20072-01-M| Defendant Name: Jerry Hazlerig BLA|R Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of *3 years as to Count 1 and 3 ¥ears as to Count 2. Counts 1 and 2 are to be
Mervised concurrently for a total term of s_upervision of 3 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial districtwithout the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the nrst five days of each month;

3. The defendant shatl answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shail not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted cfa felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or efsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20072-01-M| Defendant Name: Jerry Hazlerig BLA|R Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics. and shall permit
the probation ocher to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall aiso comply with the following additional conditions of supervised
release:

1. Any change of address must be approved by the Probation Office.

2. The defendant must participate in specialized sex offender treatment program that may
include use of a plethysmograph or polygraph.

3. The defendant shall refrain from purchasingl possessing, or using any sexually stimulating
or sexually oriented books, magazines, flims, videos, computer programs, or any other
media for portrayal of the same.

4. The defendant may not loiter near school yards, playgrounds, swimming poo|s, arcades, or
other places frequented by children.

5. The defendant may not use sexually oriented telephone numbers or services.

6. The defendant must abide by an evening curfew as set by the Probation Office.

7. The defendant shall not possess, or use, a computer with access to any “on-|ine computer

service" at any location without the prior approval of the Probation Oche. This includes any
|ntemet Service provider, bulletin board system or any other public or private network or e-

mai| system.

8. The defendant shall cooperate with the collection of DNA as directed by the Probation
Office.

9. The defendant shall submit to substance abuse treatment and testing as directed by the
Probation Ofnce.

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The defendant shall submit to mental health testing and treatment programs as directed by

the Probation Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penaities for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00

The Special Assessment shall be due immediately
F|NE
No fine imposed

REST|TUT|ON

No Restitution was ordered.

     

UNITED sT"RATEDISTIC COUR -WTERN DSTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20072 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

